                              Case 18-12309           Doc 3      Filed 10/10/18      Page 1 of 15



                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF DELAWARE

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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ONE AVIATION CORPORATION,                                       :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         ACC MANUFACTURING, INC.,                                        :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         AIRCRAFT DESIGN COMPANY,                                        :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         BRIGADOON AIRCRAFT MAINTENANCE, :                                   Case No. 18- (____)
         LLC,                                                            :
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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01:23720162.1
                              Case 18-12309           Doc 3      Filed 10/10/18      Page 2 of 15



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         In re:                                                          :   Chapter 11
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         DR MANAGEMENT, LLC,                                             :   Case No. 18-(____)
                                                                         :
                           Debtor.                                       :
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         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         ECLIPSE AEROSPACE, INC.,                                        :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         INNOVATUS HOLDING COMPANY,                                      :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
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         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL AIRCRAFT COMPANY, INC.,                                 :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL BRUNSWICK CORPORATION,                                  :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                              Case 18-12309           Doc 3      Filed 10/10/18      Page 3 of 15



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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL MANUFACTURING, LLC,                                     :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
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         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL TOOLING COMPANY,                                        :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         OAC MANAGEMENT, INC.,                                           :   Case No. 18- (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                       DEBTORS’ MOTION FOR ENTRY OF ORDER DIRECTING JOINT
                           ADMINISTRATION OF RELATED CHAPTER 11 CASES

                  ONE Aviation Corporation and its affiliated debtors as debtors in possession in the

         above-captioned cases (collectively, the “Debtors”) submit this motion (this “Motion”) for entry

         of an order (the “Proposed Order”), substantially in the form attached hereto as Exhibit A,

         directing the joint administration of the above-captioned chapter 11 cases for procedural

         purposes only. In support of this Motion, the Debtors respectfully represent:

                                                        BACKGROUND

                  1.       On 2FWREHU (the “Petition Date”), the Debtors commenced voluntary cases

         (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy
01:23720162.1


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                            Case 18-12309       Doc 3     Filed 10/10/18      Page 4 of 15



         Code”) in the United States Bankruptcy Court for the District of Delaware (the “Court”). The

         Debtors continue to operate their business and manage their properties as debtors in possession

         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment

         of a trustee or examiner has been made in the Chapter 11 Cases and no committees have been

         appointed or designated.

                2.      The Debtors are hereby requesting that the Chapter 11 Cases be consolidated for

         procedural purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules

         of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of

         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Local Rules”).

                3.      The Debtors’ principal business is the manufacturing and sale, refurbishment,

         upgrade, and service of aircraft in the “very light jet” market, and the research and development

         of new aircraft.

                4.      Additional information regarding the Debtors’ business, capital structure, and the

         circumstances leading to the Chapter 11 Cases is set forth in the Declaration of Michael Wyse in

         Support of Chapter 11 Petitions and First-Day Motions (the “First Day Declaration”), which is

         incorporated herein by reference and filed contemporaneously herewith.

                                          JURISDICTION AND VENUE

                5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

         and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware dated as of February 29, 2012. This matter is a core proceeding within the

         meaning of 28 U.S.C. § 157(b)(2), and, pursuant to Local Rule 9013-1(f), the Debtors consent to

         the entry of a final order by the Court in connection with this Motion to the extent that it is later

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in
01:23720162.1


                                                           4
                           Case 18-12309       Doc 3     Filed 10/10/18     Page 5 of 15



         connection herewith consistent with Article III of the United States Constitution. Venue is

         proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                6.      The statutory and legal bases for the relief requested herein are section 105(a) of

         the Bankruptcy Code, Bankruptcy Rule 1015, and Local Rule 1015-1.

                                             RELIEF REQUESTED

                7.      By this Motion, the Debtors request entry of the Proposed Order, pursuant to

         Bankruptcy Rule 1015(b) and Local Rule 1015-1, directing the joint administration of the

         Chapter 11 Cases for procedural purposes only. To that end, the Debtors request that a docket

         entry, substantially similar to the following, be entered on the docket of each of the Chapter 11

         Cases (except that of ONE Aviation Corporation) to reflect the joint administration of the

         Chapter 11 Cases:

                An order has been entered in accordance with Rule 1015(b) of the Federal
                Rules of Bankruptcy Procedure directing the procedural consolidation and
                joint administration of the chapter 11 cases of: ONE Aviation Corporation
                (9649); ACC Manufacturing, Inc. (1364); Aircraft Design Company (1364);
                Brigadoon Aircraft Maintenance, LLC (9000); DR Management, LLC (8703);
                Eclipse Aerospace, Inc. (9000); Innovatus Holding Company (9129); Kestrel
                Aircraft Company, Inc. (2053); Kestrel Brunswick Corporation (6741);
                Kestrel Manufacturing, LLC (1810); Kestrel Tooling Company (9439); and
                OAC Management, Inc. (9986). The docket in the chapter 11 case of ONE
                Aviation Corporation, Case No. 18-12309 (__) should be consulted for all
                matters affecting this case.
                8.      Further, the Debtors request that the Court maintain one file and one docket for all

         of the jointly administered Chapter 11 Cases under the case of ONE Aviation Corporation and

         that the Chapter 11 Cases be administered under a consolidated caption, as follows:




01:23720162.1


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                              Case 18-12309           Doc 3      Filed 10/10/18       Page 6 of 15



                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF DELAWARE
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ONE AVIATION CORPORATION, et al.,1                              :   Case No. 18-12309 (____)
                                                                         :
                           Debtors.                                      :   Jointly Administered
                                                                         :
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         1
                  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
         number, as applicable, are: ONE Aviation Corporation (9649); ACC Manufacturing, Inc. (1364); Aircraft Design
         Company (1364); Brigadoon Aircraft Maintenance, LLC (9000); DR Management, LLC (8703); Eclipse Aerospace,
         Inc. (9000); Innovatus Holding Company (9129); Kestrel Aircraft Company, Inc. (2053); Kestrel Brunswick
         Corporation (6741); Kestrel Manufacturing, LLC (1810); Kestrel Tooling Company (9439); and OAC Management,
         Inc. (9986). The Debtors’ corporate headquarters is located at 3250 Spirit Drive SE, Albuquerque, NM 87106.

                                            BASIS FOR RELIEF REQUESTED

                  9.       Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions

         are pending in the same court by or against . . . a debtor and an affiliate, the court may order a

         joint administration of the estates.” Section 105(a) of the Bankruptcy Code also provides the

         Court with the power to “issue any order, process, or judgment that is necessary or appropriate to

         carry out the provisions of [the Bankruptcy Code].” Further, Local Rule 1015-1 provides

         additional authority for the Court to order the joint administration of chapter 11 cases upon the

         filing of a motion supported by a declaration establishing that joint administration of two or more

         pending cases will ease the administrative burden of the Court and the parties.

                  10.      The Debtors are “affiliates” within the meaning of section 101(2) of the

         Bankruptcy Code. Accordingly, the Court is authorized to grant the requested relief.

                  11.      Given the complex and interlinked commercial relationships among the Debtors,

         joint administration of the Chapter 11 Cases will provide significant administrative convenience

         without harming the substantive rights of any party in interest. Many of the motions, hearings,


01:23720162.1


                                                                   6
                            Case 18-12309        Doc 3     Filed 10/10/18      Page 7 of 15



         and orders that will arise in the Chapter 11 Cases will affect each and every Debtor. Thus, the

         entry of an order directing joint administration of the Chapter 11 Cases will reduce fees and costs

         by, for example, avoiding duplicative filings and objections. Moreover, joint administration also

         will allow all parties in interest to monitor the Chapter 11 Cases with greater ease. Furthermore,

         joint administration will relieve the Court of the burden of entering duplicative orders and

         maintaining duplicative files for each Debtor and will simplify administrative supervision of the

         Chapter 11 Cases by the Office of the United States Trustee.

                 12.     In view of the benefits attendant to joint administration of the Chapter 11 Cases,

         and the absence of harm to any party in interest, the Debtors respectfully submit that the relief

         requested is appropriate and is in the best interests of the Debtors, their estates, their creditors,

         and all other parties in interest, and therefore this Motion should be granted.

                                                        NOTICE

                 13.     Notice of this Motion will be provided to: (i) the Office of the United States

         Trustee for the District of Delaware; (ii) the Debtors’ 30 largest unsecured creditors (on a

         consolidated basis); (iii) Citiking International US, LLC; (iv) the Debtors’ prepetition lenders;

         and (v) any party that requests service pursuant to Bankruptcy Rule 2002. Notice of this Motion

         and any order entered hereon will be served in accordance with Local Rule 9013-1(m). The

         Debtors submit that, in light of the nature of the relief requested, no other or further notice need

         be given.




01:23720162.1


                                                            7
                           Case 18-12309        Doc 3    Filed 10/10/18      Page 8 of 15



                WHEREFORE, the Debtors respectfully request entry of the Proposed Order,

         substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

         granting the Debtors such other and further relief as is just and proper.

         Dated: October 10, 2018
                Wilmington, Delaware               /s/ Jaime Luton Chapman
                                                   Robert S. Brady (No. 2847)
                                                   M. Blake Cleary (No. 3614)
                                                   Sean M. Beach (No. 4070)
                                                   Jaime Luton Chapman (No. 4936)
                                                   Jordan E. Sazant (No. 6515)
                                                   YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                   Rodney Square
                                                   1000 North King Street
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 571-6600
                                                   Facsimile: (302) 571-1253

                                                   - and -

                                                   Chris L. Dickerson (pro hac vice admission pending)
                                                   Brendan M. Gage (pro hac vice admission pending)
                                                   Nathan S. Gimpel (pro hac vice admission pending)
                                                   PAUL HASTINGS LLP
                                                   71 South Wacker Drive, Suite 4500
                                                   Chicago, Illinois 60606
                                                   Telephone: (312) 499-6000
                                                   Facsimile: (312) 499-6100

                                                   - and -

                                                   Todd M. Schwartz (pro hac vice admission pending)
                                                   PAUL HASTINGS LLP
                                                   1117 S. California Avenue
                                                   Palo Alto, California 94304
                                                   Telephone: (650) 320-1800
                                                   Facsimile: (650) 320-1900

                                                   Proposed Counsel to the Debtors and Debtors in
                                                   Possession




01:23720162.1


                                                             8
                Case 18-12309   Doc 3   Filed 10/10/18   Page 9 of 15



                                   EXHIBIT A

                                PROPOSED ORDER




01:23720162.1
                             Case 18-12309           Doc 3      Filed 10/10/18      Page 10 of 15



                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF DELAWARE

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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ONE AVIATION CORPORATION,                                       :   Case No. 18-12309 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ACC MANUFACTURING, INC.,                                        :   Case No. 18-12310 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         AIRCRAFT DESIGN COMPANY,                                        :   Case No. 18-12311 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         BRIGADOON AIRCRAFT MAINTENANCE, :                                   Case No. 18-12312 (____)
         LLC,                                                            :
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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01:23720162.1
                             Case 18-12309           Doc 3      Filed 10/10/18      Page 11 of 15



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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         DR MANAGEMENT, LLC,                                             :   Case No. 18-12313 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ECLIPSE AEROSPACE, INC.,                                        :   Case No. 18-12314 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         INNOVATUS HOLDING COMPANY,                                      :   Case No. 18-12315 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL AIRCRAFT COMPANY, INC.,                                 :   Case No. 18-12316 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL BRUNSWICK CORPORATION,                                  :   Case No. 18-12317 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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01:23720162.1
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                             Case 18-12309           Doc 3      Filed 10/10/18        Page 12 of 15



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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL MANUFACTURING, LLC,                                     :   Case No. 18-12318 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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         In re:                                                          :   Chapter 11
                                                                         :
         KESTREL TOOLING COMPANY,                                        :   Case No. 18-12319 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :
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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         OAC MANAGEMENT, INC.,                                           :   Case No. 18-12320 (____)
                                                                         :
                           Debtor.                                       :
                                                                         :
         Tax I.D. No. XX-XXXXXXX                                         :   RE: Docket No. ___
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         ORDER DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

                  Upon the motion (the “Motion”)1 of ONE Aviation Corporation and its affiliated debtors

         as debtors in possession (collectively, the “Debtors”) for entry of an order (this “Order”),

         pursuant to Bankruptcy Rule 1015 and Local Rule 1015-1, directing the joint administration of

         the above-captioned chapter 11 cases (the “Chapter 11 Cases”) for procedural purposes only, all

         as more fully described in the Motion; and upon consideration of the First Day Declaration; and

         this Court having held a hearing to consider the relief requested in the Motion (the “Hearing”);

         and upon the record of the Hearing and all of the proceedings had before this Court; and this

         1
                  Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
01:23720162.1
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                           Case 18-12309        Doc 3     Filed 10/10/18      Page 13 of 15



         Court having found that it has jurisdiction to consider the Motion and the relief requested therein

         pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

         United States District Court for the District of Delaware dated as of February 29, 2012; and this

         Court having found that venue of these cases and the Motion in this district is proper pursuant to

         28 U.S.C. §§ 1408 and 1409; and this Court having found that this matter is a core proceeding

         pursuant to 28 U.S.C. § 157(b); and it appearing that notice of the Motion has been given as set

         forth in the Motion and that such notice is adequate and no other or further notice need be

         provided; and that the legal and factual bases set forth in the Motion establish just cause for the

         relief granted herein; and this Court having found that the relief sought in the Motion is in the

         best interests of the Debtors’ estates, their creditors, and other parties in interest; and after due

         deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

                 1.      The Motion is GRANTED as set forth herein.

                 2.      The Chapter 11 Cases are consolidated for procedural purposes only and shall be

         jointly administered by this Court.

                 3.      The Clerk of this Court shall maintain one file and one docket for all of the

         Chapter 11 Cases, which file and docket shall be the file and docket of ONE Aviation

         Corporation, Case No. 18-12309 (____).
                 4.      All pleadings filed in the Chapter 11 Cases shall bear a consolidated caption in the

         following form:




01:23720162.1
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                             Case 18-12309           Doc 3      Filed 10/10/18       Page 14 of 15



                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF DELAWARE

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                                                                         :
         In re:                                                          :   Chapter 11
                                                                         :
         ONE AVIATION CORPORATION, et al.,1                              :   Case No. 18-12309 (____)
                                                                         :
                           Debtors.                                      :   Jointly Administered
                                                                         :
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         1
                  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
         number, as applicable, are: ONE Aviation Corporation (9649); ACC Manufacturing, Inc. (1364); Aircraft Design
         Company (1364); Brigadoon Aircraft Maintenance, LLC (9000); DR Management, LLC (8703); Eclipse Aerospace,
         Inc. (9000); Innovatus Holding Company (9129); Kestrel Aircraft Company, Inc. (2053); Kestrel Brunswick
         Corporation (6741); Kestrel Manufacturing, LLC (1810); Kestrel Tooling Company (9439); and OAC Management,
         Inc. (9986). The Debtors’ corporate headquarters is located at 3250 Spirit Drive SE, Albuquerque, NM 87106.

                  5.       A docket entry shall be made in each of the above-captioned cases substantially as

         follows:

                  An order has been entered in accordance with Rule 1015(b) of the Federal
                  Rules of Bankruptcy Procedure directing the procedural consolidation and
                  joint administration of the chapter 11 cases of: ONE Aviation Corporation
                  (9649); ACC Manufacturing, Inc. (1364); Aircraft Design Company (1364);
                  Brigadoon Aircraft Maintenance, LLC (9000); DR Management, LLC (8703);
                  Eclipse Aerospace, Inc. (9000); Innovatus Holding Company (9129); Kestrel
                  Aircraft Company, Inc. (2053); Kestrel Brunswick Corporation (6741);
                  Kestrel Manufacturing, LLC (1810); Kestrel Tooling Company (9439); and
                  OAC Management, Inc. (9986). The docket in the chapter 11 case of ONE
                  Aviation Corporation, Case No. 18-12309 (__) should be consulted for all
                  matters affecting this case.
                  6.       One consolidated docket, one file, and one consolidated service list for the

         Chapter 11 Cases shall be maintained by the Debtors and kept by the Clerk of this Court.

                  7.       Nothing contained in the Motion or this Order shall be deemed or construed as

         directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases.

                  8.       The Debtors and the Clerk of this Court are authorized to take all actions

         necessary to effectuate the relief granted pursuant to this Order in accordance with the Motion.

01:23720162.1
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                          Case 18-12309      Doc 3     Filed 10/10/18      Page 15 of 15



                9.     This Court retains jurisdiction with respect to all matters arising from or related to

         the implementation, interpretation, and enforcement of this Order.


         Dated: _______________, 2018
                Wilmington, Delaware


                                                  UNITED STATES BANKRUPTCY JUDGE




01:23720162.1
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